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                            EXHIBIT D
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                                     EXHIBIT D

        VOI 2 DT 3.5 R3 TPLO PLATE




        VOI 2 DT 3.5 L3 TPLO PLATE
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        VOI 7 DT 2.7 R3 TPLO PLATE




        VOI 7 DT 2.7 L3 TPLO PLATE
